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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED      STATES           OF   AMERICA,      )               CASE NO. 8:06CR182
                                                )               CASE NO. 8:06CR338
                Plaintiff,                      )
                                                )
                vs.                             )
                                                )                     ORDER
LEOPOLDO MEJIA,                                 )
                                                )
                Defendant.                      )

       This matter is before the Court on its own motion.

       The government notified defense counsel and the Court that an error was made with

respect to the stated statutory term of imprisonment for the counts charging violations of

18 U.S.C. § 1028(a)(4). The Court concluded that the Defendant should be resentenced

in both cases. Defense counsel has now moved for his appointment with respect to the

resentencing (8:06CR182, Filing No. 110; 8:06CR338, Filing No. 53), and has filed a

motion to vacate and correct the sentence (8:06CR182, Filing No. 109; 8:06CR338, Filing

No. 52).

IT IS ORDERED:

       1.   Resentencing of the Defendant is scheduled before the undersigned on

December 29, 2008 at 11:00 a.m. at 8:30 a.m., Courtroom No. 3, Roman L. Hruska U.S.

Courthouse, 111 South 18th Plaza, Omaha, Nebraska. The defendant must be present for

this hearing;

       2. The U.S. Marshal's Office is directed to return the Defendant to this district

for the above hearing;
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      3. The Motion to Appoint Counsel (8:06CR182, Filing No. 110; 8:06CR338, Filing

No. 53) is granted and Horatio Wheelock is appointed pursuant to the Criminal Justice Act

to represent the Defendant in the resentencing proceedings; and

      4. The Motion to Vacate and Correct an Illegal Sentence (8:06CR182, Filing No.

109; 8:06CR338, Filing No. 52) is granted, and the resentencing will take place as

described above.

      DATED this 20th day of November, 2008.

                                               BY THE COURT:

                                               S/Laurie Smith Camp
                                               United States District Judge




                                           2
